                                  Case 1:21-cv-02573-JEB Document 1-1 Filed 10/04/21 Page 1 of 10
                                                    SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                                                                                     SCANNEr·
                                                          CIVIL DIVISION - Civil Actions Branch
                                                        500 India na Avenue, N.W., Suite 5000 Washington, D.C. 20001
                                                            Telephone: (202) 879-1133 Website: www.dccourts.gov                                                             SEP          3 "021
           Passion Stewart
                                                      Plaintiff(s)

                        V.                                                                                                           Case No: 2021 CA 002953 B

           United States Postal Service
                                                    Defendant(s)

                                                     NOTICE AND ACKNOWLEDGMENT OF SERVICE                                                                 ~ IE<CIE! VIE                           D
           To (insert name and address of the party to be served):                                                                                                     SEP - 3 2021              C/
           United States Postal Service
           475 L'Enfant Plaza SW
           Washington, DC 20260                                                                                                                             LAW DEPARMENT
                 The enclosed summo ns, compla int, in itia l order, and any addendum are served in accordance with Superio r
          Court Rule of C ivil Procedure 4(c)(5).
                 Please sign and date the Acknowledgement at the bottom of the page. If you are served on behalf of a
          corporatio n, unincorporated associatio n (including a partnership), o r other entity, please indicate your relationshi p to
          that enti ty Ln the space beside your s ig nature. If you are served on behalf of another person and you are authorized to
          receive process, please indicate your authority in the space beside your sig nature.
                 If you do not complete and return the forn, to the sender within 2 1 days after it was mailed and you Jo not show
          good cause for this failure, you (or the party on whose beha lf you are being served) w ill be required to pay I) the costs
          incurred in serving the summo ns, compla int, initial o rder, and any addend um in any other manner permitted by law and
          2) the reaso nable ex penses, includ ing atto rney's fees, fo r any motion required to collect those service expenses.
                 lf you do complete and return this form, you (or the party on w hose beha lf you are be ing served) must answer
          the complaint wi thin 2 1 days a fter you have sig ned, dated, and returned the form (or within 60 days if the party being
          served is the United States, the District o f Columbia, o r officers or employees of either). If you fai l to do so, j udgment
          by default may be entered against you for the re lief demanded in the complaint.
                 This Notice and Acknowledg ment of Receipt of Summo ns, Complaint, initia l Order, and Any Addendum was
          mai led o n · sert date): -
                                    08/26/2021
                                       - - -- - - -


                                                                                                                                 Date ofSignature

                                                     ACKNOWLEDGMENT OF RECEIPT OF SUMMONS,
                                                    COMPLAINT, INITIAL ORDER, AND ANY ADDENDUM

                 I (print name) _ _ _ _ _ _ _ _ _ _ _ _ _ _ received a copy of tbe s ummo ns, complaint, initial
          o rder, and any ad dendum in the above captioned matte r at (insert address): - - - - - - - - - - - - - - -




  Signature                                                   Relationship to Defendant/Authority                                      Date of Signature
                                                               to Receive Service

  Para pcdir una traduce ion. llamc al (202) 879-4828                    /11l~ll!vil,iU TE!!.i! (202) 879-4828                          Veuillcz appeler au (202) 879-4828 pour une traduction
  E)~   c6 m91 b:\i djch, h:iy g9i (202) 879-4828                    Vl."'IC'~ ·l·C'l-9° l\"'1"11'·1· (202) 879-4828 ~J'.m·I\·          l!:l~a   ti3fAI~. c202> 879-4828 £ ~~.;;,~AIR




CA I-A [Rev. June 20 17]                                                                                                                                    S uper. Ct. Civ. R. 4
                         Case 1:21-cv-02573-JEB Document 1-1 Filed 10/04/21 Page 2 of 10

                                  ~upertor Qtourt of tf)e mtstrttt of Qtolumbta
                                                                                                                    SCANNEJJ
                                                        CIVIL DIVISION

Check One:

•      Civil Actions Branch
       500 Indiana Ave., N.W.
       Room 5000
                                          •      Landlord & Tenant Branch
                                                 510 4 th Street, N.W.
                                                 Room 110
                                                                                  •        Small Claims & Conciliation Branch
                                                                                                 th
                                                                                            510 4 Street, N.W.
                                                                                            Room 119
       Washington, D.C. 20001                    Washington, D.C. 2000 I                    Washington, D.C. 20001
       Telephone: (202) 879-1133                 Telephone: (202) 879-4879                  Telephone: (202) 879-1120




                                            Plaintiff
                             v.                                    CASE NUMBER: _ _ _ _ _ _ _ _ __


                                           Defendant

                                                 ANSWER OF DEFENDANT

The defendant answers the claim(s) ofplaintiff{s) as follows:




                                   SIGNATURE AND ADDRESS OF PARTY/ATTORNEY


 Signature                                                      Date

 Printed Name and Ba r Numbe r (if a pplicable)                 Street Address

 Email Address a nd Phone Number                                City, State, Zip

                                               CERTIFICATE OF SERVICE

  I he reby certify that on _ _ _ _ __ __ _ _ (date), that a copy of this Answer was sent in the manner indicated
  to the party/ part ies in this case or their attorney(s) as listed below:

 D E-served on or D Mailed to (c heck o ne)

  Name                                                            N ame

 Street Address                                                   Street Address


 C ity, State, Zip                                                City, State, Zip


 Ema il Address and Phone Numbe r                                 E mail Address and Phone Numbe r
 Form CV(6)-45 I/Jan. 2020                                             Super. Ct. C iv. R. 12; Super Ct. L&T R. 5 & Super. Ct. SC R. 5
                 Case 1:21-cv-02573-JEB Document 1-1 Filed 10/04/21 Page 3 of 10
                           SUPERIOR COURT OF 'l'VE DISTRICT OF COLUMBIA
                                  CIVIL DIVIS!~ Civil Actions Branch
                             500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                                Telephone: (202) 879-1133 • Website: www.dccourts.gov




PASSION STEWART
  Vs.                                                                C.A. No.         202 1 CA 002953 B
UNITED STATES POSTAL SERVICE

                                      INITIAL ORDER AND ADDENDUM

           Pursuant to D.C. Code§ 11-906 and District of Columbia Superior Court Rule of Civil Procedure
                            ("Super. Ct. Civ. R.") 40-1, it is hereby ORDERED as follows:

      (1) This case is assigned to the judge and calendar designated below. All future filings in this case shall
 bear the calendar number and the judge' s name beneath the case number in the caption.
      (l) Within 60 days of the filing of the complaint, plaintiff must fil e proof of service on each defendant of
 copies of (a) the summons, (b) the complaint, and (c) this Initial Order and Addendum. The court will dismiss
 the claims against any defendant for whom such proof of service has not been filed by this deadline, unless the
 court extended the time for service under Rule 4(m).
     (3) Within 21 days of service (unless otherwise provided in Rule 12), each defendant must respond to the
 complaint by filing an answer or other responsive pleading. The court may enter a default and a default
 judgment against any defendant w ho does not meet this deadline, unless the court extended the deadline
 under Rule SS(a).
      (4) At the time stated below, alI counsel and unrepresented parties shall participate in a remote hearing to
 establish a schedule and discuss the possibilities of settlement. Counsel shall discuss with their clients before the
 hearing whether the cli ents are agreeable to binding or non-binding arbitration. This order is the only notice
 that parties and counsel wiJI receive concerning this bearing.
     (5) If the date or time is inconvenient for any party or counsel, the Civil Actions Branch may continue the
Conference once, with the consent of all parties, to either of the two succeeding Fridays. To reschedule the
hearing, a pa1ty or lawyer may call the Branch at (202) 879-11 33. Any such request must be made at least seven
business days before the scheduled date.
No other continuance of the conference will be granted except upon motion for good cause shown.
     (6) Parties are responsible for obtaining and complying with all requ irements of the General Order fo r Civil
cases, each judge 's Supplement to the General Order and the General Mediation Order. Copies of these orders
are available in the Cou1troom and on the Court's website http://www.dccourts.gov/.



                                                               Chief Judge Anita M. Josey-Herring

Case Assigned to: Judge JOSE M LOPEZ
Date:         August 24, 202 1
Initial Conference: REMOTE HEARING - DO NOT COME TO CO URTHOUSE
SEE REMOTE HEARING INSTRUCTIONS ATTACHED TO INITIAL ORDER

9:30 am, Friday, December 17, 202 1
Location: Courtroom 21 2
          500 Indiana Avenue N.W.
          WASHINGTON, DC 20001
                                                                                                 CAIO-60
                                                  ..
               Case 1:21-cv-02573-JEB Document 1-1 Filed 10/04/21 Page 4 of 10
                              ADDENDUM TO INI::.;IAL ORDER AFFECTING
                                ALL MEDICAL MALPRACTICE CASES

               O.C. Code§ 16-2821 , which part of the Medical Malpractice Proceedings Act of 2006, provides,              "[a]fter
action is filed in the court against a healthcare provider alleging medical malpractice, the court shall require the parties to
enter into mediation, without discovery or, if all parties agree[,] with only lim ited discovery that will not interfere with the
completion of mediation within 30 days of the Initial Scheduling and Settlement Conference (' ISSC' "), prior to any further
litigation in an effort to reach a settlement agreement. The early mediation schedule shall be included in the Scheduling
Order following the ISSC. Unless all pa11ies agree, the stay of discovery shall not be more than 30 days after the !SSC."

         To ensure compliance with this legislation, on or before the date of the !SSC, the Court will notify all attorneys
and prose parties of the date and time of the early mediation session and the name of the assigned mediator. Infor mation
about the early mediation date also is available over the internet at https://www:dccourts.gov/pa/. To faci litate this process,
all counsel and pro se parties in every medical malpractice case are required to confer, jointly complete and sign an
EARLY MEDIATION FORM, which must be filed no later than ten ( I0) calendar days prior to the !SSC.
D.C. Code§ 16-2825 Two separate Early Mediation Forms are available.                     Both forms may be obtained at
www.dccou11s.gov/medmalmediation. One form is to be used for early mediation with a mediator from the multi-door
medical malpractice mediator roster; the second form is to be used for early mediation wi th a private mediator. Plaintiff's
counsel is responsible for eFiling the form and is required to e-mail a courtesy copy to earlymedmal@dcsc.gov.
Unrepresented plaintiffs who elect not to eFile must either mail the form to the Multi-Door Dispute Resolution Office at,
Suite 2900, 4 10 E Street, N. W., Washington, DC 2000 I, or deliver if in person if the Office is open for in-person visits.

          A roster of medical malpractice mediators available through the Court's Multi-Door Dispute Resolution Division,
with biographical information about each mediator, can be found at www.dccourts.gov/medmalmediation/ mediatorprofiles.
All individuals on the roster are judges or lawyers with at least IO years of significant experience in medical malpractice
litigation. D.C. Code§ 16-2823(a). If the parties cannot agree on a mediator, the Court will appoint one. D.C. Code § 16-
2823(b).

           The following people are required by D.C. Code§ 16-2824 to attend personal ly the Early Mediation Conference:
( I) all parties; (2) for pa11ies that are not individuals a representative with settlement authority; (3) in cases involving an
insurance company, a representative of the company with settlement authority; and (4) attorneys representing each pa11y
with primary responsibility for the case.

          No later than ten ( I0) days after the early med iation session has terminated, Plaintiff must eFile with the Court a
report prepared by the mediator, including a private mediator, regarding: (I) attendance; (2) whether a settlement was
reached; or, (3) if a settlement was not reached, any agreements to narrow the scope of the dispute, li mit discovery,
facilitate future settlement, hold another mediation session, or otherwise reduce the cost and time of trial preparation.
D.C. Code§ 16-2826. Any Plaintiff who is unrepresented may mail the form to the Civil Actions Branch at [address] or
deliver it in person if the Branch is open for in-person visits. The forms to be used for early mediation reports are available
at www.dccourts.gov/medmalmediation.



                                                                          Chief Judge Anita M. Josey-Herring




                                                           2                                                    CAIO-60
                         Case 1:21-cv-02573-JEB Document 1-1 Filed 10/04/21 Page 5 of 10
                                            Civil Rcmot~tcaring Inst ru ctions for Participants



          The following instruction s are for participa nts w ho are scheduled to have cases heard before a Civil Judge
          in a Remote Courtroom



                    tionl (AUDIO ONLY/Dial-in by Phone):

      Toll 1 (844) 992-4762 or (202) 860-2110, enter th e Meeting ID from the attachment followed by
      #, press again to enter session.

                 •     Please call in no sooner than 5 minutes before your scheduled hearing time. Once you have joined
                       the session, please place your phone on mute until directed otherwise. if you should happen to get
                       disconnected f rom the call, please call back in using the phone number and access number
                       provided and t he courtroom clerk will mute your call unt il the appropriate time.

      If you select Option 2 or Option 3 use the Audio Alternative




                     Open Web Browser in Google Chrome and copy and paste following address from the next page:
                     https://dccou rts. webex.com/ meet/XXXXXXXXX



OP.tion    (LAPTOP/ DESKTOP USERS 2):

               Open Web Browser in Google Chrome and copy and paste following address
               https://dccourts.webex.com Select Join, enter the Meeting ID from the next page



      AUDIO ALTERNATIVE: Instead of automatically using USE COMPUTER FOR AUDIO, select CALL-
      IN and follow the CALL-IN prompt window. Use a cell phone or desk phone. You will be heard
      clearer if you do not place your phone on SPEAKER. It is very important that you
      enter the ACCESS ID# so that your audio is matched with your video.

OP.tion 4 (lpad/SMART PHONE/TABLET):

                •          Go to App Store, Down load Web Ex App (Cisco WebEx Meetings)
                •          Sign into th e App with your Name and Email Address
                •          Select Join M eeting
                •          Enter address from the next page: ht tps://dccourts. webex.com/meet/XXXXXXXXX
                •          Click join and make sure your microphone is muted and your video is unmuted (if you need to be
                •          seen). If you only need t o speak and do not need to be seen, use the audio on ly option.
                •          When you are ready click "Join Meeting". If t he host has not yet started t he meeting, you will be
                           placed in the lobby until the meeting begins.


                             For Technical Questions or issues Call: (202) 879-1928, Option #2




                                                                  3                                                  CAIO-60
                       Case 1:21-cv-02573-JEB Document 1-1 Filed 10/04/21 Page 6 of 10
                                      Superior ~ourt of the District of Columbia
                                      Public Access for Remote Court Hearings
                                             (Effective August 24, 2020)

  The current telephone numbers for all remote hearings are: 202-860-2110 (local) or 844-992-4726 (toll
  free). After dialing the number, enter the WebEx Meeting ID as shown below for the co urtroom. Please click
  a WebEx Direct URL link below to j oin the hearing online.

           Audio and video recording; taking pictures of remote hearings; and sharing the live or recorded remote
           hearing by rebroadcasting, live-streaming or otherwise are not allowed

livision   Courtroom       Types of Hearings                                Public Access via Web Ex
                              Scheduled in
                                                   WebEx Direct URL                                       WebEx
                               Courtroom
                                                                                                          M eeting ID
uditor     206          Auditor Maste r            httQS:LLd ccou rts.webex.comLmeetLctbaudmaster         129 648 5606
laster                  Hearings
           100          Civil 2 Sched uling        httQs:LLdccou rts. webex.comLmeetLctb 100              129 846 4145
                        Conferences; St at us,
                        Motion and Evident iary
                        Hearings including
vii                     Bench Trials
           205          Foreclosure Matters        httQs:LL dccourts. webex.comLmeetLctb205               129 814 7399

           212          Civil 2 Scheduling         htt Qs:LLdccou rts. webex.comLmeetLct b 212            129 440 9070
                        Conferences; Status,
                        Mot ion and Evidentiary
                        Hearings including
                        Bench Trials
           214          Titl e 47 Tax Liens; and   httQs:LLdccou rt s.webex.comLmeetLctb214               129 942 2620
                        Foreclosure Hea rings
           219          Civi l 2 Scheduling        httQs:LLdccou rts. webex. comLmeetLctb 219             129 315 2924
                        Con ferences; St atus,
                        Motio n an d Evidentiary
                        Hearings including
                        Bench Trials
           221          Civil 1 Schedu ling        httQs :LLdccou rts. webex.comLmeetLctb221              129 493 5162
                        Conferences; Status,
                        Motion and Evidentiary
                        Hearings including
                        Bench Trials
           318          Civil 2 Schedu ling        httQs:LLdccou rt s. webex.comLmeetLctb318              129 801 7169
                        Conferences; Status,
           320          Motion and Evidentiary     httgs:LLdccourts.webex.comLmeetLct b320                129 226 9879
                        Hea rings including
                        Bench Tria ls




                                                           4                                           CAIO-60
        Case 1:21-cv-02573-JEB Document 1-1 Filed 10/04/21 Page 7 of 10
400      Judge in Chambers          • httQs:L[dccou rts.webex.comLmeetLctb400        129 339 7379
         Mat ters inclu ding
         Temporary Restrain ing
         Orders, Preliminary
         Injunctions and Name
         Changes
415      Civil 2 Schedu ling        htti;wLLdccourts.webex.comLmeetLctb415           129 314 3475
516      Confe rences; Status,      httQs :LLdccou rts.webex.comLmeetLctbS16         129 776 4396
         Motion and Evidentiary
517                                 htt Qs:LLdccourts.webex.comLmeetLct bS 17        129 911 6415
         Hearings including
         Bench Trials               httQs :LLdccou rts.webex.comLmeetLctbS 18
518                                                                                  129 685 3445

519                                 h tt12s:LLdccou rts.w ebex.comLmeetLctbS 19      129 705 0412

JM-4                                httQs:LLdccou rts.webex.comLmeetLctb jm4          129 797 7557



A-47     Housing Conditions         htt Qs:LLdccou rt s.webex.comLmeetLctba4 7        129 906 2065
         Matters
B-52     Debt Co llection and       httQs :LLd ccou rts.webex.comLmeetLct bb52        129 793 4102
         Land lord and Tenant
         Tria ls
B-53     Land lord and Tena nt      htt12s:LLdccourts.webex.comLmeetLctbb53          129 913 3728
         Matters in cluding Lease
         Violation Hearings and
         Post Judgment Motions
B-109    La ndlord and Tenant       httQs:LLdccou rts.webex.comLmeetLct bb109        129 127 9276
         Matters
B-119    Small Claims Hearings      httQs :LLdccou rts. webex.comLmeetLctbb 119      129 230 4882
         and Tria ls




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               Case 1:21-cv-02573-JEB Document 1-1 Filed 10/04/21 Page 8 of 10
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                                                                                                                                    QW,ACTIONS BRANCH

                                            Superior Cour~ of ~~e Distric"t of.Columbia                                                     AUG 02 2021
                                           CIVIL-DMSION - Civil Actfons Branch                                                              ~Ca.t
                                 500 Indiana Av.enue,.N,W., Suite S000 Wasbmgton,·I)_.C. 20001                                          of~ O..~O:t·· ••
                                     Telephone: ~202) 879-1133-Wehsite~ www.dccourts.gov                                                  ~D.C.

                                                                                        CaseNo.             20 2 1                     2953
                                                                   COMPLAINT
                                       JuriscUction of.this Court is foun9ed on D.C. Code§ 11-921.

Passion Stewart                                                                    United ,$tates Postal S.ervice
P,~TIFF                                                                  vs        DEFENDANT
800 Kenilwo_rth A':JE NE_.Apt. ·231                                                475 L'Enfant Plaza SW
Address (No Post O!ficc Boxes)                                                     Address (No-Post Office Boxes)
Washington DC                            200.19                                    Washington DC                              20260
City       .State                     ·· Zip Code                                  City-                St~te                Zip Co.de
(202-)436-421 S-
Telepbpne N~ber                                                                    Telephone Number
passion~stew~rt@gmail.com
Email·-:Addr~s '(optional)                                                         Email Aqqress-(optional)


  1. Write a short and plain state1p.ent of your clai~, including ru_iy relevant facts, dates, and locjltjons:
      I moved Into my apartment on July 3,2020. l·am.a prime c;:ustomer so all ofmy pacl<ages should arrive,ln

      2 days. =Someone who Is an USPS employee 9pnstantly scans my packages as delive_red and then takes them

      to th~ Min"nesota·AVE.NE,Post Office. I am also having issues with them s~nnlng my packages.as vHeld at Post

      Office at ~ustoiiier Request~. ·1have, never In.my l\fe ~ontacte~ the post office and ask them to hold.any-of my-packages..
                                                                                                                                            I


      I am a slngle:mother.of 4 and should hot have to travel to·recelve-my packages wlien_they.shou!d be,brought to my doo~. ups·and

      FedEx bring all of my Items direcay to my door. I have wrote latlers·and for about a week USPS would bring my packag!3S·to my door

      but lhen Y-'.ould go bacl(-to taklng them to Minnesota Ave. It should be Illegal to change:lhe status of my packages without my kno)'l!ec!ge;_


 2.    Wh~. relief are you requesting- from tlie Court?-Include any requ~s~ for. mo!}ey damages.
      ! am requesting $20,000 because this ls unacceytable. I was told by the workers at the River T!;!rrace Post Office that
      If the package caMot fit In my mailbox they won't reach out to me they will Just marldt as delivered and take it to·Mlnnescita·AVE.
                                                                                                                                            1
      Then when.I arrive at.Minnesota-Ave NE Post Office.th!! employel3"s are rude anchay my packages aren't there.




Fonn CA-3.074 [Rev. Nov. 2fll 7]                                                                                 Super. Ct. Civ. R:. 3
                        - ..
  Case 1:21-cv-02573-JEB Document 1-1 Filed 10/04/21 Page 9 of 10




3. State any other information, of \vhich the Court should b aware:
   All I wan.I is for my packages lo be delivered to my door    o1the   ~XPE

   shouJd never be taken to Minnesota AVE vvithout my consent an then ~ he

   aren•t there. Then they give me the River Terrace Post O ,rce numb
                                                                        I
   I worked at the River Terrace post office so i know for a fa ct An~el,
                                                               1
   the desk and will watch_the phone ring and ignore the ca'llf" so"/eth

   h~ve to through this. When I lived at 3676A Hay_es ~treat ~ E all Jmy

                                                                        I




                                                         SIGN~TlJRE

  - ·11e best of "my 'kn owe
 Tot                       1 dge, -everyth.1ng 1n                   ~
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                                               . t h.1s C,omp aint 1s
 harass the.De:fendant(s)! Superior Court Civil Rules 11 b).



 SIGNATURE

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                                 2
              Case 1:21-cv-02573-JEB Document
                                          >   1-1 Filed 10/04/21 Page 10 of 10
                                                            lo   >   •




                                              Superior Court.of t~e I>istrict of Colunibi~
                                                                 CMLDIViSJON'
                                                         Civil Actions Branch
                                     500 Indiana Av.enue,:N.W.;-~uite 5000 Washington, b.c. 20001
                                          Telephone: (202) 879-1133 Website: www_.dccotlrts.gov:


                                                                         Plaintiff
                                        vs.
                                                                                                                                     2.0 2 1
                                                                                                              Case"Nwnber
    United.State$ Pos(al Service
                                                                     Defenq~t

                                                                     SUMMONS·
 To·fQe ~boye·named D~fend~~-=

         You ar~ hereby sUiilmon_ecJ. and required to serve ·an Answer to the .a ttaqq~ Compla~·t,..either
 personally or through ·an attorney, within twenty one (21) days after servfoe of this· ·summons on yoµ,
·excl~siv~ o~ th.~ q~y of servic~. If,you are being,sue~ as an, ?fflcer or agency_ ~f the l!nited S~t~s Go e~en
 ~r the D1stnc~ of Columbia ~fovepun~nt, you ~~ve sixty (60)_day,s affer serv1ce,?f~ils su~ons;to s rveiyo~
 Answe"r. A copy ·of the AI)swer m:ust be ~ailed to the attorney for the plamtr{f whQ 1s suing : ou. Th~
 '1ttomey's name and address-appear below .. If plajntjff p_as no attorney, .a:.copy'~f the Answer must _¢ maiJe
 to the plaintiffat the address:stated on this Summons.

        You.are:also,required to file the original Answer witli the Co~rt.in Suite 5000 at.500 I,tdJan_-Ayenu~
N_.W.? be~een 8:30 a.m. ·anc;l -~:~O "P·~·-•_Nlond~ys. tlµ-o~~--~~d~ys or ·be~_een "9:00 a.-mi_an~ 12:·o noon                                                      04
Saturo~ys: Yp~ m~y ~le the o~gmal -Aiisw~r w1_pi t?_e C?urt ~Ither befo~e.?'ou s:erve a c_?,.PY of the , · wer o?
the-plamtiff qr w1thm seven (7) d~ys after -you have served th~ plamtiff. If you fail to file            Answev
judgment by qefal,llt may be eriter.ed against you·for .the relief demanded in _the complaint;

                                                                                                      Clerk of...the Court
Name of Plaintiff'sAttomey
890 Kenilworth Ave Ne Apt                        2:s1
Address
Washington, DC 20019
-(202)436-:421:5                                                                     J;)ate _ __..._.........2;;c...Ll-'--l--'-2D-=-2..;;;..__:._I- - . . . . - - - . -
,:elep~one
~flHBif,iRfT.iil.i!.(20~) 879-4828         Veuillez appeler au,(202) 879-4828 poµr uhe lraductlon                 eA c6 1116t.liii:di~; hay g9i (202 879-'4828
~affi f:l~Allf, (202)879-4828!!~1£                   fh"Yc'f- +c-t-v-> l\"'l"IT-1- (~02) 879-4828          µ.'?'It-



   IMPORTANT: IF· YOU FAII:. TO "FILE AN ANSWER W°rfHIN THE TIME STATED ABOVE,- OR IF, -~FTER Y U
ANSWER, YOU FA·I.L. io APPEAR AT'A~ TJME THKCOURT.l'10TIFJES YOU :ro DO·SO, A JUDGMENT .B DEFA ,T
MA.¥ 'BE -ENTERED AGAINST YOU FOR THE MONEY- DAMAGES OR. 0 THER RELIEF DEMAND ·o IN T -
COMPLA:INT: iF THIS. OGCURS·, YOUR·~AGES.MAY BE .A:ITA.CflEO OR WITHHELD OR PERSONAL PR .PERTY ~ -
REAL·ESTATE·.YOU OWN MAYBE.TAKEN AND-SOLD TO PAY THE JUDGMENT. IFYOU JNTENDT©·O POSE
Aciro'N: DO t{OT FAIL TO ANSWER WITHIN.THE REQUIRED TiME...      ·   . . .
                                                                                                                                                               T:Jrs-
   -Jfyou. wish_.to \alk to·a.Jawyer and feel that you cannot afford to pay.a fec,to a lawyer; promp_tly comact.otie of the offices of he
Legal Aid Sodety (202-628-1161) _or tile Neighborhood Legal Services (202-179-SlOO) for ·he.Ip or come; to Suit 5000. at· 00.
Indiana ~venue, N;W.; for,more infc;irm~tion concerning pfaces whe_re yo.Ii ~~y-ask-for-such-help.

                                                   See reverse side for- Spanish translaiion
                                                   · Vea al-dqrso la ~ducci6ii 1\1 espaiiol
